         Case 1:19-mc-00145-TSC Document 52 Filed 11/21/19 Page 1 of 5



                            IN THE DISTRICT COURT FOR THE
                                DISTRICT OF COLUMBIA


                                                     )
In the Matter of the                                 )
Federal Bureau of Prisons’ Execution                 )
Protocol Cases,                                      )
                                                     )
LEAD CASE: Roane et al. v. Barr                      )       Case No. 19-mc-145 (TSC)
                                                     )
                                                     )
THIS DOCUMENT RELATES TO:                            )
                                                     )
Bourgeois v. U.S. Dep’t of Justice, et al.,          )
No. 12-cv-782                                        )
                                                     )
Lee & Honken v. Barr, et al., No. 19-cv-2559         )
                                                     )
Purkey v. Barr, et al., No. 19-cv-3214               )
                                                     )


                            DEFENDANTS’ NOTICE OF APPEAL

       Notice is hereby given this 21st day of November, 2019, that Defendants in this action

appeal to the United States Court of Appeals for the District of Columbia Circuit from the Order

of this Court entered on November 20, 2019, see ECF Nos. 50 (Memorandum Opinion) and 51

(Order) (both attached hereto), in which the Court granted “the Motions for Preliminary

Injunction filed by the following individuals: Alfred Bourgeois (ECF No. 2), Dustin Lee

Honken (ECF No. 29), Daniel Lewis Lee (ECF No. 13), and Wesley Ira Purkey (ECF No. 34),”

and ordered “that Defendants (along with their respective successors in office, officers, agents,

servants, employees, attorneys, and anyone acting in concert with them) are enjoined from

executing Plaintiffs until further order of this court.” Order, ECF No. 51.

Dated: November 21, 2019
         Case 1:19-mc-00145-TSC Document 52 Filed 11/21/19 Page 2 of 5



Respectfully submitted,
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           Case 1:19-mc-00145-TSC Document 52 Filed 11/21/19 Page 3 of 5


                                   CERTIFICATE OF SERVICE
       I hereby certify that on November 21, 2019, I caused a true and correct copy of foregoing to

be served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all plaintiffs’ counsel of record:


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        Case 1:19-mc-00145-TSC Document 52 Filed 11/21/19 Page 4 of 5



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          Case 1:19-mc-00145-TSC Document 52 Filed 11/21/19 Page 5 of 5


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* No e-mail provided on the docket or counsel no longer with the identified firms.



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